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                                               Commonwealth v. Hunt
                                                Appeals Court of Massachusetts
                                                  November 5, 2012, Entered
                                                           11-P-950

Reporter
2012 Mass. App. Unpub. LEXIS 1117 *; 82 Mass. App. Ct. 1119; 977 N.E.2d 106
                                                                  vehicle in close proximity to it. The keys to the vehicle were
COMMONWEALTH vs. DANIEL SCOTT HUNT.
                                                                  discovered near him on the ground. The defendant's defense
                                                                  was that he was merely an innocent passerby who happened
Notice: DECISIONS ISSUED BY THE APPEALS COURT
PURSUANT TO ITS RULE 1:28 ARE PRIMARILY                           to be in the wrong place at the wrong time. After the police
                                                                  returned the car to the victim, the victim pointed out that there
ADDRESSED TO THE PARTIES AND, THEREFORE,
                                                                  was a key on her key chain that did not belong to her. That
MAY NOT FULLY ADDRESS THE FACTS OF THE
CASE OR THE PANEL'S DECISIONAL RATIONALE.                         key was attached to a supermarket courtesy card. Through a
                                                                  statement made [*2] to police by Vinnie Ferlisi (apparently
MOREOVER, RULE 1:28 DECISIONS ARE NOT
                                                                  an employee of the supermarket), the police learned that the
CIRCULATED TO THE ENTIRE COURT AND,
THEREFORE, REPRESENT ONLY THE VIEWS OF THE                        courtesy card belonged to the defendant. Prior to the trial, the
                                                                  defendant filed a motion in limine that, inter alia, sought to
PANEL THAT DECIDED THE CASE. A SUMMARY
                                                                  exclude police witnesses from testifying as to what Ferlisi
DECISION PURSUANT TO RULE 1:28, ISSUED AFTER
FEBRUARY 25, 2008, MAY BE CITED FOR ITS                           told them (on hearsay grounds). On the day of trial, the judge
                                                                  allowed the motion with respect to Ferlisi's out-of-court
PERSUASIVE VALUE BUT, BECAUSE OF THE
                                                                  statements. The prosecutor in fact assented to the motion with
LIMITATIONS NOTED ABOVE, NOT AS BINDING
PRECEDENT.                                                        respect to those statements, and she noted that Ferlisi himself
                                                                  was unavailable to testify. Nevertheless, during her opening
PUBLISHED  IN   TABLE   FORMAT   IN                       THE     statement, the prosecutor told the jury that the police took the
MASSACHUSETTS APPEALS COURT REPORTS.                              courtesy tag to the grocery store that had issued it and "it
                                                                  came back to [the defendant]." The defendant immediately
Disposition: [*1] Judgment reversed. Verdict set aside.           asked for a mistrial, which was denied. The defendant then
                                                                  requested that the judge instruct the jury to disregard the
Judges: Cypher, Katzmann & Milkey, JJ.                            prosecutor's reference to the courtesy tag. The judge instead
                                                                  gave a general instruction that opening statements do not
Opinion                                                           constitute evidence.

                                                                  Discussion. In an opening statement, a prosecutor may state
                                                                  "anything she reasonably, and in good faith, expect[s] to
MEMORANDUM AND ORDER PURSUANT TO RULE                             prove." Commonwealth v. Qualls, 440 Mass. 576, 586, 800
1:28                                                              N.E.2d 299 (2003), [*3] citing Commonwealth v. Errington,
                                                                  390 Mass. 875, 883, 460 N.E.2d 598 (1984). At the time the
After a jury trial in District Court, the defendant was           prosecutor made her opening statement here, she was aware
convicted of receiving a stolen motor vehicle, G. L. c. 266, §    that evidence linking the defendant to the courtesy card would
28(a). His lead argument on appeal is that he is entitled to a    not be forthcoming. The Commonwealth concedes that the
new trial based on an error that the prosecutor made during       prosecutor's reference to that evidence was error,1 but argues
her opening statement. Because we agree, we reverse.

Background. While investigating an apparently unrelated           1 Emphasizing   the prosecutor's knowledge that the evidence would
matter, a police officer observed a car being driven by a man     not be coming in, the defendant argues that the error could not have
wearing a light-colored hat. After learning that the car had      been made in good faith. The Commonwealth characterizes the error
been reported stolen, the police officer doubled back to the      as "negligent" and "inadvertent," and it argues that the prosecutor
car, which was at this time parked. The defendant, who was        likely forgot that the evidence would not be admitted. For purposes
wearing a light-colored hat, was found standing outside the       of resolving this appeal, it is sufficient to note that the prosecutor
                                                                  could not have reasonably believed that the evidence would be
               Case 3:22-cv-30030-MRG Document 13-3 Filed 06/30/22 Page 130 of 132



that the error was harmless. The question we face is whether             Entered: November 5, 2012.
the prosecutor's misstatement was of such potential prejudice
that the defendant's timely request for a mistrial should have
been granted. We agree with the defendant that it was.                     End of Document


Although the Commonwealth had a robust case based on
evidence properly admitted at trial, such proof was not
overwhelming. It was up to the jury to determine whether
 [*4] reasonable doubt remained as to whether the defendant
was the innocent passerby he claimed to be. Proof that the
defendant's courtesy card had been put on the victim's key
ring by itself would have eviscerated the innocent passerby
defense. Moreover, this was a one-day trial in which the jury
retired to deliberate less than three hours after hearing the
prosecutor's reference to the devastating (but absent)
evidence. Under these circumstances, even with the judge's
instruction that opening statements should not be taken as
evidence, we cannot say with any confidence that the
prosecutor's misstatement could not have influenced the jury's
verdict. This is one of those rare cases where an error in the
prosecutor's opening statement was "irretrievably and fatally
prejudicial to the defendant in the circumstances."
Commonwealth v. Bearse, 358 Mass. 481, 487, 265 N.E.2d
496 (1970). The defendant is therefore entitled to a new trial.2

Judgment reversed.

Verdict set aside.

By the Court (Cypher, Katzmann & Milkey, [*6] JJ.),


forthcoming.

2 The  defendant also argues that a sign-in sheet from the victim's
place of work was improperly admitted under the business record
statute. G. L. c. 233, § 78. That record showed that on the date that
the victim's keys were taken from her workplace, someone signed in
at that [*5] workplace using the same name as the defendant. The
defendant argues, inter alia, that the sign-in sheet could not be
considered sufficiently reliable absent a showing that someone at the
workplace was verifying the identity of those signing it. That
argument was recently rejected by the Supreme Judicial Court in
analogous circumstances. Commonwealth v. Siny Van Tran, 460
Mass. 535, 551, 953 N.E.2d 139 (2011) (airline records properly
admitted "not as proof of the defendants' actual identities as the
passengers listed on the flight documents, but simply for the purpose
of showing that the statements were made by someone, even,
perhaps, a person being untruthful, who held themselves out to be
these men"). The defendant additionally argues that the
Commonwealth did not demonstrate that the sign-in sheet otherwise
qualified as a business record. For example, he argues that the victim
herself was not qualified to testify as to the manner in which the
sign-in sheet records were kept. We do not reach such arguments
because it is not clear that the Commonwealth will seek to introduce
the document in the same manner in any retrial.

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